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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

  IN RE: BABY FOOD MARKETING, SALES
  PRACTICES AND PRODUCTION LIABILITY                            MDL No.: 2997
  LITIGATION


                                     PROOF OF SERVICE

       I hereby certify that a true and correct copy of the Notice of Appearance has been

electronically filed with the United States Judicial Panel on Multidistrict Litigation on March 22,

2021 by using the CM/ECF system, which will send notice of electronic filing to all parties of

record. A copy was also served by ECF, Email or U.S. First-Class Mail, on March 22, 2021, to

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                               No. 2:21-cv-01977 (NJD)
